%AO 199A(Rev. 6/97) Order Setting Conditionsof Release                                                                Page 1ofVw ^ Pases

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                                                                                                              m 22206
                                    United States District Col R1
                                                                                                     CLERK. U.b. ui^f RICT COU iT
                                                                                                            ALEXANDRIA, VIRGINIA
                                               Eastern           District of          Virginia



                  United States of America
                                                                      ORDER SETTING CONDITIONS
                                                                                      OF RELEASE
                               V.




                          Defendant


 IT IS ORDERED that the release of the defendant is subject to the following conditions:

          (1)   The defendant shall not commit any offense in violation of federal, state or local law while on release in this case.

          (2) The defendant shall immediately advise the court, defense counsel and the U.S. Attorney in writing before any change in
                address and telephone number.

          (3) The defendant shall appear at all proceedings as required and shall surrender for service of any sentence imposed as

                directed. The defendant shall appear at (if blank, to be notified),               United States District Court

                   401 Courthouse Sq., Alexandria, VA       on
                                                                                            Date and Time




                                      Release on Personal Recognizance or Unsecured Bond

 IT IS FURTHER ORDERED that the defendant be released provided that:

 ( ^ ) (4) The defendant promises to appear at all proceedings as required and to surrender for service of any sentence imposed.
                The defendant executes an unsecured bond binding the defendant to pay the United States the sum of

                                                                                                        _ dollars                       )
                in the event of a failure to appear as required or to surrender as directed for service of any sentence imposed.




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            (Rev. 1/98) Order Setting Conditions of Release                                                               Page^^f

                                                              Additional Conditions of Release
           Uponfinding that release by one of the above methods will not by itselfreasonably assure the appearance
       of the defendant and the safety of other persons and the community, it is JTJRTHER ORDERED that the
       release of the defendant is subject to the conditions marked below:

       (   ) (6) The defendant is placed in the custody of:
                 (Name of person or organization)
                  (Address)
                (City and State)                                                            (Tel.No.)
       who agrees (a) to supervise the defendant in accordance with all conditions of release, (b) to use every effort
       to assure the appearance of the defendant at all scheduled court proceedings, and (c) to notify the court
       immediately in the event the defendant violates any conditions of release or disappears.

                                                                               Signed:
                                                                                                     Custodian of Proxy


       (X )(7) The defendant shall:
            ( ) (a) maintain or actively seek employment.
            ( ) (b) maintain or commence an educational program.
           ^J>^c) abide by the following restriction on his personal associations, place of abode, or travel:
                         Do not depart the Washington P.O. metropolitan area without prior approval of Pretrial Services
                         or the Court.
                         •jvS                                 \g:^o4-r I A                                                          ~     i
            ( ) (d) avoid all contact with the following named persons, who are considered either alleged victims
                    or potential witnesses:                                                                                                   i

           ^>^r(e) report on a regular basis to thefollowing agency:                        Pretrial Services.
            ( ) (f) comply with the following curfew:

            ( ) (g) refrain firom possessing a firearm, destructive device, or other dangerous weapons.
            ( ) (h) refrain from excessive use of alcohol, and any use orunlawful possession of a narcotic drug or                      j..
                         controlled substance defined in 21 U.S.C. 802 unless prescribed by a licensed medical person.
            ( ) (i) undergo medical orpsychiatnc treatment and/or remain man institution, as follows:                               fWOH
                         execute a bond or an agreement toJprflait upo^n failingto appear as required, thp following sum
                         of money or designated property:                            OTxI) I
            ( ) (k)post with the court the following indicia of ownership of the above-described property, or the
                   following amount or percentage of the above-described money:

                         execute abail bond with the solvent sureties in the amount of $ )O |
            ( ) (m) return to custody each (week) day as of         o'clock after being released each (week) day as
                    of         ^o'clock for employment, schooling, or the following limited purpose(s):
            ( ) (n) surrender any passport or other travel documents to:
            ( ) (o) obtain no passport or travel documents.
            ( ) (p) undergo substance abuse testing and/or treatment as directed at the direction of Pretrial
                         Services.
            ( ) (q) the defendant shall not operate a motor vehicle without a valid license.
            ( ) (r) the defendant is placed on home detention with electronic monitoring as directed.
             ( ) (s)




WHITE COPY - COURT                 YELLOW - DEFENDANT                BLUE - U.S. ATTORNEY     PINK - U.S. MARSHAL     GREEN - PRETRIAL SERVICES
AO 199C (Rev. 09/08) Advice of Penallie.s                                                                Page                 ^      Pages
                                               ADVICE OF PENALTIES AND SANCTIONS

TO THE DEFENDANT:


YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:

      Violating any of the foregoing conditions of release may result in the immediate issuance of a warrant for your arrest, a
revocation of your release, an order of detention, a forfeiture of any bond, and a prosecution for contempt of court and could result in
imprisonment, a fine, or both.
     While on release, if you commit a federal felony offense the punishment is an additional prison term of not more than ten years
and for a federal misdemeanor offense the punishment is an additional prison term of not more than one year. This sentence will be
consecutive (/.e., in addition to) to any other sentence you receive.
     It is a crime punishable by up to ten years in prison, and a $250,000 fine, or both, to: obstruct a criminal investigation;
tamper with a witness, victim, or informant; retaliate or attempt to retaliate against a witness, victim, or informant; or intimidate or
attempt to intimidate a witness, victim, juror, informant, or officer of the court. The penalties for tampering, retaliation, or
intimidation are significantly more serious if they involve a killing or attempted killing.
     If, after release, you knowingly fail to appear as the conditions of release require, or to surrender to serve a sentence,
you may be prosecuted for failing to appear or surrender and additional punishment may be imposed. If you are convicted of:
     (1) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more - you will be fined
           not more than $250,000 or imprisoned for not more than 10 years, or both;
     (2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years - you will be fined not
           more than $250,000 or imprisoned for not more than five years, or both;
     (3) any other felony - you will be fined not more than $250,000 or imprisoned not more than two years, or both;
     (4) a misdemeanor - you will be fined not more than $100,000 or imprisoned not more than one year, or both.
     A term of imprisonment imposed for failure to appear or surrender will be consecutive to any other sentence you receive. In
addition, a failure to appear orsurrender may result in ^e forfeiture ofany bond posted.
                                                      Acknowledgment of the Defendant

       I acknowledge that I am the defendant in this case and that I am aware of the conditions of release. I promise to obey all
conditions of release, to appear as directed, and surrender to serve any sentence imposed. I am aware of the penalties and sanctions
set forth above.




                                                                                        Defendant's Signature



                                                                 City and State '                                 Telephone Number



                                                    Directions to the United States Marshal

(•)     The defendant is ORDERED released after processing.
(•)     The United States marshal is ORDERED to keep the defendant in custody until notified by the clerk or judge that the
        defendant has posted bond and/or complied with all other conditions for release. If still in custody, the defendant must be
        produced before the appropriate judge at the time and place specified.
                                                                                          K
                                      ^                                    Michael S. Nachmanoff ^
Date:                                                                      United States Magistrate Judge
                                                                                       Judicial Officer's Signature




                                                                                         Printed name and title




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